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16                                UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA

18                                     SAN FRANCISCO DIVISION
19
     In re: CATHODE RAY TUBE (CRT)                              Case No. 07-cv-5944 SC
20   ANTITRUST LITIGATION                                       MDL No. 1917

21   This Document Relates to:                                  INDIVIDUAL CASE: 13-CV-1173 SC

22   Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   SHARP ELECTRONICS
     Case No. 13-cv-1173 SC                                     CORPORATION AND SHARP
23                                                              ELECTRONICS
     All Direct Purchaser Actions                               MANUFACTURING COMPANY OF
24
                                                                AMERICA, INC.’S NOTICE OF
25                                                              APPEAL FROM COLLATERAL
                                                                ORDER
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28
            SHARP’S NOTICE OF APPEAL FROM COLLATERAL ORDER AND REPRESENTATION STATEMENT
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 1          Notice is hereby given that Sharp Electronics Corporation and Sharp Electronics

 2   Manufacturing Company of America, Inc., Plaintiffs in the above named case, hereby appeal to

 3   the United States Court of Appeals for the Ninth Circuit from the collateral order denying their

 4   motion for an enlargement of time to opt out of settlements between the Direct Purchaser

 5   Plaintiffs and the SDI and Hitachi Defendants, entered in this Action on August 20, 2014, ECF

 6   No. 2746, and the collateral order entered in this Action on September 8, 2014, denying their

 7   motion for leave to file a motion for reconsideration. ECF No. 2814.

 8

 9   DATED: September 18, 2014          By: /s/ Kenneth A. Gallo
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 1                                REPRESENTATION STATEMENT
 2           The undersigned represents Sharp Electronics Corporation and Sharp Electronics

 3   Manufacturing Company of America, Inc. In accordance with Fed. R. App. P. 12(b) and Ninth

 4   Cir. R. 3-2(b), attached is a service list that shows all of the parties to the action and identifies

 5   their counsel by name, firm, address, email and telephone number, where appropriate.

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